Case 2:18-cv-00219-RWS Document 80 Filed 11/27/18 Page 1 of 3 PageID #: 1215



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

PROMIUS PHARMA LLC,

                      Plaintiff,

        v.
                                                  Civil Action No. 2:18-cv-00219-RWS
PERRIGO UK FINCO LIMITED
PARTNERSHIP, PERRIGO ISRAEL
PHARMACEUTICALS LTD., and TARO
PHARMACEUTICALS, INC.,

                      Defendants.

             JOINT MOTION FOR ENTRY OF FINAL JUDGMENT ON CONSENT

        Plaintiff Promius Pharma LLC (“Promius”) and Defendants Perrigo UK FINCO Limited

Partnership and Perrigo Israel Pharmaceuticals Ltd. (together, “Perrigo”), have agreed to terms

and conditions representing a negotiated settlement of the claims against Perrigo in this action

and have set forth those terms and conditions in an executed Settlement Agreement (the

“Settlement Agreement”), which includes a proposed Final Judgment on Consent;


        Promius and Perrigo hereby jointly request that the Court enter the proposed Final

Judgment on Consent, which is attached hereto as Exhibit A.


        Nothing in this motion affects the above action as to Taro Pharmaceuticals, Inc.


Dated: November 27, 2018                               Respectfully submitted,

By: /s/ Clyde M. Siebman                               By: /s/ William E. Davis, III
Clyde M. Siebman                                       William E. Davis, III
SIEBMAN, FORREST, BURG & SMITH,                        Texas State Bar No. 24047416
L.L.P.                                                 THE DAVIS FIRM, PC
State Bar No. 18341600                                 213 N. Fredonia Street, Suite 230
Stephanie Barnes                                       Longview, TX 75601
State Bar No. 24045696                                 Telephone: (903) 230-9090



LEGAL\39162812\1
Case 2:18-cv-00219-RWS Document 80 Filed 11/27/18 Page 2 of 3 PageID #: 1216



300 N. Travis Street                           Facsimile: (903) 230-9661
Sherman, TX 75090                              Email: bdavis@bdavisfirm.com
Tel: 903-870-0070
Fax: 903-870-0066                              Martin B. Pavane
clydesiebman@siebman.com                       Marilyn Neiman (Pro Hac Vice)
stephaniebarnes@siebman.com                    Keri L. Schaubert (Pro Hac Vice)
                                               COZEN O’CONNOR
Carol Pitzel Cruz (Pro Hac Vice)               277 Park Avenue
KNOBBE, MARTENS, OLSON & BEAR, LLP             New York, NY 10172
925 Fourth Avenue, Suite 2500                  Telephone: (212) 883-4994
Seattle, WA 98104                              Facsimile: (212) 986-0604
Telephone: (206) 405-2000                      Email: mpavane@cozen.com
Facsimile: (206) 405-2001                              mneiman@cozen.com
Carol.pitzelcruz@knobbe.com                            kschaubert@cozen.com

Ashley C. Morales (Pro Hac Vice)               Aaron S. Lukas (Pro Hac Vice)
KNOBBE, MARTENS, OLSON & BEAR, LLP             COZEN O’CONNOR
12790 El Camino Real                           1200 Nineteenth Street, N.W., 3rd Floor
San Diego, CA 92130                            Washington, D.C. 20036
Telephone: (858) 707-4000                      Telephone: (202) 912-4800
Facsimile: (858) 707-4001                      Facsimile: (202) 861-1905
Ashley.morales@knobbe.com                      Email: alukas@cozen.com

Counsel for Defendants                         Counsel for Plaintiff
Perrigo UK FINCO Limited Partnership and       Promius Pharma LLC
Perrigo Israel Pharmaceuticals Ltd.




                                           2
LEGAL\39162812\1
Case 2:18-cv-00219-RWS Document 80 Filed 11/27/18 Page 3 of 3 PageID #: 1217



                              CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this document was served on all counsel who are

deemed to have consented to electronic service. Local Rule CV-5(a)(3)(A). Pursuant to Fed. R.

Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by

email, on this 27th day of November 2018.

                                            /s/ William E. Davis, III
                                            William E. Davis, III




                                               3
LEGAL\39162812\1
